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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                          *        CRIMINAL NO.: 22-22

             v.                                    *        SECTION: “H”

 FLORENCE RANDLE                                   *
      a/k/a “Florence Diggs”
      a/k/a “Florence Wheaten”                     *
      a/k/a “Florence Sims”
      a/k/a “Wankie”                               *
      a/k/a “Winkie”
                                             *     *    *

                                RULE TO REVOKE PROBATION

       NOW INTO COURT comes the United States of America, appearing herein by and

through the undersigned Assistant United States Attorney for the Eastern District of Louisiana,

who respectfully represents:

                                                  I.

       On December 13, 2023, the defendant, Florence Randle, was sentenced to 24 months of

Probation for violating Title 18, United States Code, Section 371, Conspiracy to Commit Mail

Fraud. (See Rec. Doc. No. 379).      This conviction was based on a scheme to stage collisions with

tractor-trailers, seek medical treatment, and file false insurance claims.   The Defendant’s term of

probation for this offense commenced on December 13, 2023.         (Rec. Doc. 383).

                                                 II.

       On March 6, 2024, Senior U.S. Probation Officer Johnny Alexander filed a Petition for

Warrant or Summons for Offender Under Supervision (“Petition”) with this Court. (Rec. Doc.

383). In the Petition, Officer Alexander alleges that Randle violated certain conditions of her

probation.   According to the Petition:

                  Ms. Randle failed to pay her court-ordered restitution for January
                  through March 2024, and is currently $150.00 in arrears of her
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      minimum payment.         According to the Clerk’s records, the
      remaining restitution balance is approximately $63,508.00. Ms.
      Randle has also failed to pay the special assessment fee of $100.00.

      Ms. Randle failed to follow the instructions of the probation officer.
      On January 3, 2024, Ms. Randle was instructed to report to the
      probation office for a noncompliance meeting, and she failed to
      report as instructed.

      Ms. Randle failed to comply with the location monitoring program
      requirements and instructions. On December 22, 2023, Ms. Randle
      received location monitoring orientation.        USPO Alexander
      reviewed each item of the location monitoring program participant’s
      agreement and acknowledged understanding by signing the
      agreement form. As court-ordered, Ms. Randle was placed on
      home detention. She was informed of the home detention residence
      restrictions, except for employment, education, religious services,
      medical, substance abuse and mental health treatment, attorney
      visits, and court appearances. The consequences of noncompliance
      were explained, and she was instructed on how to obtain a leave
      schedule. Ms. Randle was advised that all leave schedules must be
      approved in advance prior to travel. Ms. Randle was also given
      instructions on how to charge her global positioning system (GPS)
      ankle monitoring tracking device. She was reminded to charge the
      GPS tracking device for no less than two hours each day to maintain
      a fully charged battery.

      On December 26, 2023, the electronic monitoring alert system
      reported that Ms. Randle was not charging the GPS tracking device
      due to low battery usage. Upon receipt of the alert, USPO
      Alexander attempted to contact Ms. Randle by telephone, but was
      not successful. USPO Alexander contacted Ms. Randle’s daughter
      via telephone, and she was instructed to assist her mother by
      charging the GPS tracking battery. Ms. Randle was verbally
      reprimanded for not charging the GPS tracking device as instructed.

      On February 27, 2024, the electronic monitoring alert system
      reported that Ms. Randle left her residence earlier than the required
      scheduled tie to leave to attend her medical appointments. Ms.
      Randle’s medical appointment was scheduled at 1:45 p.m., and she
      left her residence at 12:15 p.m. The electronic monitoring center
      called Ms. Randle via telephone to inquire about her whereabouts.
      She became upset and stated she was going to blow her brains out if
      the monitoring kept calling her. Due to Ms. Randle’s suicidal
      thoughts, she was removed from the monitoring center. Ms.
      Randle is currently enrolled in mental health treatment at South
      Central Louisiana Human Services. USPO Alexander immediately
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                 informed the mental health treatment provider of Ms. Randle’s
                 suicidal thoughts.

                 On March 2, 2024, the electronic monitoring alert system reported
                 that Ms. Randle sent a text message requesting to leave her residence
                 to go grocery shopping. However, it was denied because of Ms.
                 Randle’s continued noncompliance with the location monitoring
                 program. Ms. Randle was instructed to seek assistance from her
                 daughter to purchase groceries. Ms. Randle became upset and
                 stated, “No one is going to stop me from going grocery shopping.”
                 The GPS data showed Ms. Randle traveled to gas stations, retail
                 stores, fast food restaurants, and the Lafourche Mortgage and Loan
                 office without prior approval.

                                                        III.

        On or about April 8, 2024, Randle appeared before United States Magistrate Judge Michael

B. North for an initial appearance on the March 6, 2024 Petition. 1 Judge North continued the

initial appearance and set the detention hearing for April 12, 2024. Judge North ordered that

Randle be remanded to the custody of the U.S. Marshals until the initial appearance and detention

hearing are held. (Rec. Doc. 386).




1 United States Probation Officer Alexander has informed the Undersigned that, in between the issuance of the
Petition on March 6, 2024 and her appearance in court on April 8, 2024, Randle accrued additional probation
violations, including failure to attend mental health treatment and failure to make additional restitution payments.
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       WHEREFORE, the government prays that the defendant, Florence Randle, be brought

before this Court and a copy of this Rule be served upon her, and that she be ordered to show cause

before this Court why her probation should not be revoked.

                                               Respectfully submitted,

                                               DUANE A. EVANS
                                               UNITED STATES ATTORNEY


                                               s/Maria M. Carboni
                                               MARIA M. CARBONI
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 11, 2024, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system which will send a notice of electronic filing
to all defense counsel of record.

                                                       s/ Maria M. Carboni
                                                       MARIA M. CARBONI
                                                       Assistant United States Attorney




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